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                    EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


Andrea K. Drake, et al.,                                       Case No. 1:13-dp-20140

                       Plaintiffs,

       v.                                                      MEMORANDUM OPINION
                                                                   AND ORDER

DePuy Orthopaedics, Inc., et al.,

                       Defendants.


                                      I.      INTRODUCTION

       Plaintiffs William and Andrea Drake have filed a motion to vacate an arbitration award

obtained by Steven Johnson, Plaintiffs’ former attorney, from an arbitrator in Texas. (Doc. No. 7).

Johnson has filed a competing motion to confirm the arbitration award. (Doc. No. 7; 3:17-dp-

20085). I previously concluded I have subject matter and personal jurisdiction over this case and

Johnson and granted Plaintiffs’ motion to enforce the Master Settlement Agreement. (Doc. No. 30).

The Sixth Circuit denied Johnson’s appeal on that decision as premature, Drake v. DePuy Orthopaedics,

Inc., 757 F. App'x 449 (6th Cir. 2018), and this matter now is before me for the resolution of

Plaintiffs’ motion to vacate and Johnson’s motion to confirm. For the reasons stated below, I deny

Johnson’s motion, and I grant Plaintiffs’ motion to vacate the arbitration award.

                                       II.     BACKGROUND

       The Sixth Circuit accurately and succinctly summarized the factual and procedural

background of this dispute, and I will reiterate that summary here for consistency:
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   Plaintiff William Drake is a Minnesota resident. He is married to Andrea Drake, and
   has lived in Minnesota for approximately forty years. He received Articular Surface
   Replacement (“ASR”) hip implants that were manufactured by DePuy Orthopaedics
   Inc., in both of his hips, at a hospital located in Minnesota. In 2010, DePuy recalled
   the ASR implants (“MDL Action”) that Mr. Drake received. The Drakes learned of
   the recall through a television advertisement from a law firm representing persons
   who received DePuy ASR implants subject to this recall. Mrs. Drake called the
   number on the advertisement and thereafter began discussions with Johnson
   through his law firm. The Drakes did not know where the law firm was located
   when they initiated contact, but eventually learned that it was in Texas. Other than a
   brief layover in a Texas airport, Mr. Drake has never been to Texas.

   Between September 28, 2010, and January 19, 2012, Johnson’s law firm contacted
   the Drakes through calls and letters approximately fifty-seven times, which generally
   resulted in the firm leaving voicemails. During that time period, following six
   months of no direct contact from the Drakes, Johnson’s law firm sent Mr. Drake a
   final letter, which stated that “[f]ailing to contact us may result in the closing of your
   file and the loss of your rights.” . . . Five days later, on January 24, 2012, Mr. Drake
   signed the form contract (Attorney Representation Agreement, or “ARA”) Johnson’s
   firm had previously sent him. The ARA included an arbitration clause, stating that in
   the event of a dispute, arbitration would be held in Fort Worth, Texas.

   On November 28, 2012, Johnson was informed by the Drakes that they intended to
   terminate their ARA with him, and secure different counsel. Shortly thereafter,
   Johnson filed a short-form complaint on behalf of the Drakes in the MDL Action in
   Ohio. Once the Drakes hired a local law firm to represent him, the new law firm
   filed a complaint in Minnesota, and the case was transferred to the Northern District
   of Ohio court handling this MDL. Before Johnson dismissed the complaint he filed
   on behalf of the Drakes, he put the Drakes’ new attorneys on notice of his attorney’s
   fee lien on any recovery from the Drakes’ MDL lawsuit. Johnson dismissed the case
   he filed with the following stipulation:

           The parties further agree and stipulate that this dismissal shall have
           no effect on Plaintiff’s pending case in the United States District
           Court, Northern District of Ohio, filed by the law firm of
           Meshbesher & Spence, Ltd. on January 24, 2013 (Case No. 1:30-dp-
           20140).

           The Parties further recognize that the Johnson Law firm has asserted
           a claim on any recovery the Plaintiff may make for any injuries related
           to the DePuy ASR for the full amount of all monies that [the
           Johnson Law Firm] is entitled to under the terms of its contract with
           the Plaintiff and that this dismissal shall have no effect on those
           claims.

   ...



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          DePuy Orthopaedics, Inc. reached a settlement agreement with the plaintiff class in
          the MDL Action in November 2013, and the Drakes signed on to this settlement
          agreement shortly thereafter. The settlement agreement specifically outlines how
          disputes connected with the MDL Action are to be handled, which includes
          arbitration and the use of a Special Master and/or Claims Processor that have already
          been appointed through the MDL Action settlement process.

          In an effort to litigate the fee dispute arising out of the MDL Action, Johnson
          initiated a JAMS arbitration in Dallas, Texas on July 31, 2014. The next day, he filed
          an action in the Northern District of Texas, Fort Worth Division, to compel the
          Drakes to arbitrate in Texas. . . . The Fort Worth district court dismissed Johnson’s
          action for lack of personal jurisdiction (in personam) over Mr. Drake. The
          arbitration continued, despite and over the Drakes’ objections to both the individual
          arbitrator selected and to the Texas forum.

          On February 16, 2016, the Drakes initiated the ADR process regarding the parties’
          fee dispute, as dictated by the MDL Action settlement agreement, through Special
          Master Cathy Yanni of JAMS. Two days later, Johnson again moved to compel the
          Drakes to arbitration in Texas, this time filing in a Dallas district court. Special
          Master Yanni issued an order dismissing the Drakes’ arbitration request on the basis
          that she did not have jurisdiction over the matter because it was already pending in a
          different forum with another JAMS arbitrator. Shortly afterwards, before the district
          court in Dallas issued any substantive rulings, Johnson voluntarily dismissed that
          action.

          The Texas arbitrator issued a final award in favor of Johnson on June 22, 2016 (later
          corrected for a typographical error and re-issued on July 7, 2016). Of the Drakes’
          settlement award, the arbitrator authorized over sixty-two percent to be distributed
          to Johnson, Johnson’s attorneys, and the JAMS arbitration process. Johnson then
          filed another action in the district court in Dallas, where he moved that the court
          confirm the arbitration award. The Drakes then filed a motion to enforce the MDL
          Action settlement agreement and to vacate the arbitration award in the Ohio district
          court. The Ohio district court granted the Drakes’ motion to enforce the settlement
          agreement and did not reach the motion to vacate the arbitration award. The next
          day, the Dallas district court sua sponte transferred Johnson’s motion to confirm the
          arbitration award to be consolidated with the MDL case in the Ohio district court.
          Johnson timely appealed the Ohio district court’s order.

Drake, 757 F. App’x at 450–52 (6th Cir. 2018) (footnotes and internal citations omitted) (alterations

added).

          The Sixth Circuit concluded it did not have appellate jurisdiction over Johnson’s appeal

because my earlier order did not resolve “the issue of how to deal with the arbitration award . . . .”




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Id. at 453. The court of appeals remanded the case for further consideration of Johnson’s motion to

confirm and the Drakes’ motion to vacate.

                                            III.     ANALYSIS

        Federal law “mandate[s] the enforcement of arbitration agreements.” Southland Corp. v.

Keating, 465 U.S. 1, 10 (1984). Arbitration agreements are “irrevocable . . . save upon such grounds

as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2; see also Salvano v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 647 N.E.2d 1298, 1302 (N.Y. 1995) (Arbitration agreements are

governed by “the accepted rules of contract law.”); J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223,

227–28 (Tex. 2003) (“[W]hen deciding whether the parties agreed to arbitrate, ‘courts generally . . .

should apply ordinary state-law principles that govern the formation of contracts.’”) (quoting First

Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)).

        The Drakes and Johnson entered into the ARA in January 2012. The ARA stated that Texas

law applied to the terms of that agreement. (Doc. No. 10-4 at 1). While the ARA does not contain

a provision governing amendments to the contract, Texas law plainly contemplates that parties to a

contract may amend their written arbitration agreement through a subsequent writing. See, e.g., J.M.

Davidson, Inc., 128 S.W.3d at 227–29.

        The Drakes and Johnson later became subject to another agreement – the 2015 ASR

Settlement Agreement dated March 2, 2015 (the “2015 Settlement Agreement”), which modified and

extended the initial ASR Settlement Agreement dated November 19, 2013 (the “2013 Settlement

Agreement”). The Drakes settled their claims under the 2013 Settlement Agreement, though those

claims still were active in the claims process when the 2015 Settlement Agreement took effect.

        An MDL court’s “inherent authority” to create and enforce mechanisms which “bring

management power to bear upon massive and complex litigation” is well established. In re Vioxx

Prods. Liab. Litig., 760 F. Supp. 2d 640, 648 (E.D. La. 2010) (discussing a court’s authority to assess


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common benefit attorneys’ fees against a pool of funds used to compensate MDL plaintiffs and

attorneys) (quoting In re Air Crash Disaster at Fl. Everglades on Dec. 29, 1972, 549 F.2d 1006, 1012 (5th

Cir. 1977)). So too is the requirement that a court “exercise supplemental jurisdiction over fee

disputes that are related to the main action.” Kalyawongsa v. Moffett, 105 F.3d 283, 287-88 (6th Cir.

1997).

         Johnson’s claims, which are dependent upon a recovery by the Drakes “by way of

settlement, judgment or otherwise,” (Doc. No. 10-4 at 1), are squarely based upon the Master

Settlement Agreement. The amount, scope, and timing of the Drakes’ recovery under the U.S.

Program (the private claim resolution program established by the 2013 Settlement Agreement and

revised by the 2015 Settlement Agreement) is determined by the provisions of the 2015 Settlement

Agreement. That agreement specifically provides that any dispute concerning the 2015 Settlement

Agreement or “any U.S. Program Claim . . . shall be submitted to the Claims Administrator who

shall sit as a binding arbitration panel and whose decision shall be final, binding and Non-

Appealable.” (2015 Settlement Agreement, § 14.1.2).

         The fact that Johnson no longer represented the Drakes at the time they entered into the

2013 Settlement Agreement does not alter the conclusion that Johnson’s claim for his alleged lien is

governed by the terms of that and subsequent Settlement Agreements. Johnson represents

numerous plaintiffs who settled their claims pursuant to one or more of the ASR Settlement

Agreements. Moreover, even a plaintiff who is not a signatory to a contract containing an

arbitration agreement “may be compelled to arbitrate if his claims are ‘based on a contract’

containing an agreement to arbitrate.” Branch Law Firm L.L.P. v. Osborn, 532 S.W.3d 1, 12 (Tex.

App. 2016) (quoting In re Kellogg Brown & Root, Inc., 166 S.W.3d 732, 740 (Tex. 2005)); see also Belzberg

v. Verus Invest. Holdings Inc., 999 N.E.2d 1130 (N.Y. 2013) (holding a nonsignatory is bound by an




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agreement containing an arbitration clause when the nonsignatory directly derives a benefit from the

agreement).

           In short, the Drakes and Johnson agreed to a contract which contained a binding

arbitration provision – the 2015 Settlement Agreement. The subsequent arbitration Johnson

initiated and pursued, however, did not comport with the parties’ agreement. Permitting a party to

any contract – to say nothing of one governing an area as broad and complex as the area this MDL

addresses – to choose which provisions of that agreement it will abide by, and which it won’t, simply

is untenable. What is more problematic, in this case, is that it also violates federal law.

          The Federal Arbitration Act provides that a party which has been “aggrieved by the alleged

failure . . . of another to arbitrate under a written agreement for arbitration may petition . . . for an

order directing that such arbitration proceed in the manner provided for in such agreement.” 9

U.S.C. § 4. More precisely, to these circumstances, “[i]f in the agreement provision be made for a

method of naming or appointing an arbitrator or arbitrators or an umpire, such method shall be

followed . . . .” 9 U.S.C. § 5 (emphasis added). Parties to an arbitration agreement “may specify with

whom they choose to arbitrate their disputes.” Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S.

662, 683 (2010) (emphasis original).

          The 2015 Settlement Agreement expressly provides a specific process for arbitration and

identifies a particular arbitrator. The Texas arbitration neither followed that process nor used that

arbitrator. “[A]rbitration awards made by arbitrators not appointed under the method provided in

the parties’ contract must be vacated.” PoolRe Ins. Corp. v. Organizational Strategies, Inc., 783 F.3d 256,

263 (5th Cir. 2015) (quoting Brook v. Peak Int’l, Ltd., 294 F.3d 668, 673 (5th Cir. 2002)) (emphasis

added).

          Therefore, I vacate the Texas arbitration award and order the Drakes and Johnson to adhere

to the arbitration procedures set forth in the 2015 Settlement Agreement, including arbitration


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before the Claims Administrator or, if the Claims Administrator is unable to preside over the

arbitration, before “one of the Special Masters who has not rendered any decision with regard to the

matter at issue . . . .” (2015 Settlement Agreement, § 14.1.2 - 14.1.3).

                                         IV.     CONCLUSION

        For the reasons stated above, I deny Johnson’s motion to confirm the arbitration award,

grant the Drakes’ motion to vacate the arbitration award, and order the parties to proceed with

arbitration as contemplated by the 2015 Settlement Agreement.

        So Ordered.




                                                        s/ Jeffrey J. Helmick
                                                        United States District Judge




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                    EXHIBIT B
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                        UNITED STATES COURT OF APPEALS
                             FOR THE SIXTH CIRCUIT
                             100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt          POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
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                                               Filed: December 15, 2020




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         Re: Case Nos. 19-4074/19-4075, Andrea Drake, et al v. DePuy Orthopaedics, Inc., et al
             Originating Case Nos. : 1:13-dp-20140; 1:17-dp-20085

Dear Counsel,

  The Court issued the enclosed opinion today in this case.

                                               Sincerely yours,

                                               s/Cathryn Lovely
                                               Opinions Deputy
          Case: 19-4074 Document:
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cc: Ms. Sandy Opacich

Enclosure

Mandate to issue
          Case: 19-4074 Document:
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                         NOT RECOMMENDED FOR PUBLICATION
                                File Name: 20a0696n.06

                                    Nos. 19-4074/4075

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT                               FILED
                                                                             Dec 15, 2020
                                                                         DEBORAH S. HUNT, Clerk
In Re: DEPUY ORTHOPAEDICS, INC. ASR             )
HIP IMPLANT PRODUCTS LIABILITY                  )
LITIGATION.                                     )
_______________________________________         )       On Appeal from the United States
                     19-4074                    )       District Court for the Northern District
                                                )       of Ohio
ANDREA K. DRAKE; WILLIAM S. DRAKE,              )
       Plaintiffs-Appellees,                    )
                                                )
       v.
                                                )
DEPUY ORTHOPAEDICS, INC., et. al.,              )
       Defendants,                              )
                                                )
STEVEN M. JOHNSON, d/b/a THE JOHNSON            )
LAW FIRM,                                       )
       Petitioner-Appellant.                    )
                                                )
                     19-4075                    )
                                                )
STEVEN M. JOHNSON,
                                                )
       Petitioner-Appellant,                    )
       v.                                       )
WILLIAM S. DRAKE,                               )
                                                )
       Respondent-Appellee.                     )



Before: GUY, CLAY, and KETHLEDGE, Circuit Judges.

       RALPH B. GUY, JR., Circuit Judge.         These appeals involve the arbitration of a

contingent fee dispute between an attorney and his former client after the client obtained a
            Case: 19-4074 Document:
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Case Nos. 19-4074/4075                                                                         2
Drake v. Johnson, d/b/a The Johnson Law Firm

settlement of his underlying claims through the DePuy ASR Hip Implant Products Liability

Litigation (MDL No. 2197). Attorney Steven M. Johnson d/b/a The Johnson Law Firm, initiated

arbitration in Texas against his former client William Drake pursuant to their Attorney

Representation Agreement (ARA), which ultimately resulted in a final arbitration award in

Johnson’s favor for more than $350,000. Moving to vacate that award, Drake sought to force

Johnson to arbitrate their fee dispute anew before a Special Master appointed under the MDL’s

Master Settlement Agreement (MSA). The district court sided with Drake twice—once before

and once after we dismissed Johnson’s first appeal for lack of jurisdiction. Drake v. DePuy

Orthopaedics, Inc., 757 F. App’x 449, 452 (6th Cir. 2018).

       Johnson’s latest appeals are from the district court’s orders on remand: (1) denying

confirmation of the arbitration award in Johnson’s favor; (2) vacating that arbitration award; and

(3) ordering the parties to arbitrate their fee dispute again pursuant to the MSA. Drake v. DePuy

Orthopaedics, Inc., No. 1:13-dp-20140, 2019 WL 4750608 (N.D. Ohio Sept. 30, 2019) (MDL);

Johnson v. Drake, No. 1:17-dp-20085 (Order R. 54) (N.D. Ohio Sept. 30, 2019) (Transferred

Motion to Confirm Award). To be clear, the issue is not whether the parties agreed to arbitrate

any fee disputes between them under the express terms of the ARA—everyone accepts that they

did. The question is whether it was error to vacate the arbitration award on the grounds that the

initial agreement to arbitrate was amended, modified, or otherwise superseded by the provisions

of the MSA. Because the district court’s reliance on a mix of contract principles, estoppel theory,

and inherent authority does not withstand scrutiny, we REVERSE and REMAND for further

proceedings consistent with this opinion.1


1
 Although judgment has not been entered in the Drakes’ MDL case under 28 U.S.C. § 1291, an
appeal may be taken from orders “denying confirmation of an award” or “vacating an award,” 9
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Case Nos. 19-4074/4075                                                                            3
Drake v. Johnson, d/b/a The Johnson Law Firm

                                                  I.

       Minnesota resident William Drake underwent bilateral hip replacement surgeries in 2007.

The implants he received—DePuy Articular Surface Replacement (ASR) hip devices—were

recalled in 2010. Many lawsuits followed and, by the end of 2010, the Judicial Panel on

Multidistrict Litigation had ordered the transfer of the first of thousands of federal ASR hip implant

actions to the Northern District of Ohio for coordinated or consolidated pretrial proceedings. See

28 U.S.C. § 1407(a) (providing that each action “be remanded by the panel at or before the

conclusion of such pretrial proceedings to the district from which it was transferred unless it shall

have been previously terminated”).

                                   A. Johnson’s Representation

       Drake’s wife Andrea saw and responded to a solicitation from the Johnson Law Firm

relating to the DePuy recall. Letters and calls were directed to the Drakes for more than a year,

until a final warning letter prompted Drake to engage Johnson to represent him in January 2012.

Under the Attorney Representation Agreement (ARA or Fee Agreement), Johnson would bring

Drake’s claims against the manufacturer and distributor of the ASR hip device and would receive

a contingent attorney’s fee of 40% of whatever was recovered “by way of settlement, judgment,

or otherwise.” The ARA specified that it would be governed by Texas law, contained an

integration clause, and was silent regarding subsequent amendment or modification.

       Significant for our purposes, Drake expressly agreed to “binding arbitration of any disputes

between the client and the Firm.” More specifically, Drake and Johnson agreed that “any dispute

arising from the interpretation, performance, or breach of this Fee Agreement . . . shall be resolved



U.S.C. § 16(a)(1)(D)-(E). Also, judgment was entered in the action transferred from the district
court in Texas, and an appeal may be taken from “a final decision with respect to an arbitration
that is subject to this title.” 9 U.S.C. § 16(a)(3).
            Case: 19-4074 Document:
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Case Nos. 19-4074/4075                                                                         4
Drake v. Johnson, d/b/a The Johnson Law Firm

by final and binding arbitration conducted in Fort Worth, by any other arbitrator that The Firm

may choose.” The ARA did not otherwise specify the arbitrator or incorporate any arbitration

rules to govern such an arbitration.

       Johnson represented Drake for less than a year. In that time, Johnson notified DePuy of

Drake’s ASR-related claims, obtained medical records, and waited for Drake’s revision surgery to

be scheduled. At the end of November 2012, the Firm was advised that Drake was terminating its

representation; Johnson filed a “short form” complaint in the MDL on Drake’s behalf anyway; and

Drake retained as substitute counsel Minnesota Attorney Charles Johnson (no relation to Steven

Johnson). Although the sequence of and justifications for those actions were contested in the

Texas arbitration proceeding, the fact that they occurred was not.2

       Not long after terminating Johnson’s representation, Drake underwent revision surgery and

changed counsel one last time. The Drakes have been represented ever since by the Minnesota

law firm of Meshbesher & Spence, Ltd.—both in the MDL case and the fee dispute with Johnson.

                                       B. Drake’s Settlement

       A new complaint alleging the Drakes’ ASR-related claims was filed in federal court in

Minnesota in early 2013. That became the operative pleading after it was transferred to the

Northern District of Ohio for pretrial proceedings in the DePuy ASR Hip Implant Products

Liability Litigation. See Gelboim v. Bank of Am. Corp., 574 U.S. 405, 413 (2015) (noting that

“[c]ases consolidated for MDL pretrial proceedings ordinarily retain their separate identities”).

That transfer called attention to the “short-form” complaint previously filed by Johnson on Drake’s



2
  The arbitrator ultimately found that Drake did not have “good cause” to fire Johnson, which,
under Texas law, meant that Johnson was not limited to a quantum meruit recovery and was able
to enforce the contract and collect the full contingent fee once Drake recovered on the underlying
claim. See Mandell & Wright v. Thomas, 441 S.W.2d 841 (Tex. 1969).
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Case Nos. 19-4074/4075                                                                              5
Drake v. Johnson, d/b/a The Johnson Law Firm

behalf. Johnson stipulated to its dismissal, but not without asserting a contingent fee claim “for

the full amount of all monies that JLF is entitled to under the terms of its contract with the Plaintiff

and that this dismissal shall have no effect on those claims.”

       The MDL proceeded with extensive discovery conducted by lead counsel for plaintiffs and

defendants, and, by mid-2013, the number of cases filed in the MDL docket exceeded 8,500.

Drake v. DePuy Orthopaedics, Inc., No. 13-dp-20140, 2017 WL 6502489, at *1 (N.D. Ohio Dec.

19, 2017). DePuy and a committee of plaintiffs’ attorneys (which did not include Johnson) reached

a private global settlement agreement in late 2013. The settlement—formalized as the Master

Settlement Agreement (MSA)—created an “opt-in” program funded by DePuy for the settlement

of the ASR-related claims, filed and unfiled, of eligible U.S. claimants who underwent revision

surgery prior to August 31, 2013. Under the MSA, eligible claimants (including Drake) could

choose to settle by “enrolling” in the program and agreeing to have their claims decided in a private

administrative process with the release of all claims against the defendants.

       In particular, the MSA appointed three Special Masters “to oversee the administration of

claims for benefits and to make final and binding determinations under this Agreement with the

authority of an Arbitrator under the Federal Arbitration Act.” (MSA § 12.4.2.) The MSA provided

for “final, binding and Non-Appealable” arbitration of “any dispute that arises under or otherwise

in connection with . . . any U.S. Program Claim.” (MSA § 14.1.2.) An arbitration would be

initiated by serving a demand on the Special Master, and, unless the parties agreed otherwise, the

arbitration would be governed by the American Arbitration Association (AAA)’s Commercial

Arbitration Rules. (MSA § 14.1.3.2.)

       Through counsel, the Drakes enrolled in the MSA’s settlement program in early 2014.

Drake was approved for Part A and Part B settlement awards totaling $561,750, which triggered
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Case Nos. 19-4074/4075                                                                          6
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Johnson’s contingent fee claim. Drake also filed a claim under the MSA’s Extraordinary Injury

Fund (EIF), although it is not clear whether that claim is still pending. The Drakes re-enrolled

after the MSA was modified and extended to cover U.S. claimants who had revision surgery prior

to January 31, 2015. For our purposes, the relevant provisions of the 2013 MSA remained

unchanged in the 2015 MSA.3

                           C. Arbitration of the Contingent Fee Claims

       Drake’s counsel proposed that the fee dispute be arbitrated before a Special Master under

the MSA. Instead, Johnson initiated an arbitration with JAMS in Dallas, Texas. Johnson also filed

a motion to compel arbitration, which was dismissed for lack of personal jurisdiction by the federal

court in Texas. The JAMS arbitration proceeded over Drake’s objections, and the arbitrator was

selected. The arbitration hearing was delayed for settlement discussions, but a settlement was

never finalized.

       So, in early 2016, Drake formally invoked the MSA’s arbitration process and a JAMS

arbitration was referred to Special Master Cathy Yanni. Johnson objected to the arbitration on

several grounds and also filed (and later dismissed) a second motion to compel arbitration in

federal court in Texas. That detour did not last long, however, because Special Master Yanni

quickly dismissed the arbitration for lack of jurisdiction. Johnson contends that the dismissal

should be understood as an implicit determination that the dispute was not arbitrable under the

MSA, although the brief order did not say that. Instead, the order stated that the Special Master

had been “unaware and not informed of the arbitration already proceeding before Judge Ashworth”

in the Dallas JAMS proceeding. The only reasons given are at least as likely to imply that the



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 The district court noted that the MSAs and other forms are available on the website for the U.S.
ASR Hip Settlement. Drake, 2017 WL 6502489, at * 6 (citing www.usasrhipsettlement.com).
           Case: 19-4074 Document:
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dismissal was based on deference to the first-filed and still pending Dallas JAMS proceeding. See

Drake, 757 F. App’x at 452 (describing this dismissal as based on lack of “jurisdiction over the

matter because it was already pending in a different forum with another JAMS arbitrator”).

          The arbitration hearing was finally conducted in the Dallas JAMS proceeding. The

arbitrator issued a final corrected arbitration award in Johnson’s favor in July 2016. The

arbitrator’s written decision rejected Drake’s defenses and counterclaims—including his claim of

fraudulent inducement, his defense that the ARA was terminated for “good cause,” and his

challenges to the contingent fee on the grounds of forfeiture and unconscionability. After finding

that Drake had breached the contract, Johnson was awarded: (1) a net contingency fee of 35% of

the Part A and Part B settlement awards in the amount of $196,612.50 (as well as on any future

EIF recovery); (2) a lien against Drake’s recovery to the extent of that fee; and (3) contract

damages for the attorney’s fees and costs incurred in the arbitration in the amount of $136,457 and

$20,145.47, respectively. Altogether, Johnson was awarded $353,214.97. That did not end the

matter.

                                    D. Federal Court Proceedings

          Johnson filed a new action for confirmation of the award in the Texas federal court, while

the Drakes countered with a motion filed in the Ohio MDL to vacate the arbitration award and

enforce the MSA. The Texas action was later transferred to Ohio to be decided with the MDL

proceedings. The Ohio district court decided to order the parties to arbitrate the fee dispute again

under the MSA. See Drake, 2017 WL 6502489, at *9. Johnson appealed, but this court remanded

with instructions for the district court to also decide the competing motions to confirm or vacate

the arbitration award. Drake, 757 F. App’x at 454. On remand, the district court vacated the

arbitration award because the arbitration “did not comport with the parties’ agreement” and
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ordered the parties “to adhere to the arbitration procedures set forth in the 2015 [Master] Settlement

Agreement.” Drake, 2019 WL 4750608, at * 4. This appeal followed.

                                                 II.

       The Federal Arbitration Act restricts judicial review of an arbitration award to the statutory

grounds for vacating, modifying, or correcting an award under 9 U.S.C. §§ 10-11. See Hall Street

Assoc., LLC v. Mattel, Inc., 552 U.S. 576, 584 (2008). Drake abandoned his argument for vacatur

based on partiality, 9 U.S.C. § 10(a)(2), but the FAA did not prevent Drake from otherwise

challenging the validity of the agreement to arbitrate the fee dispute after the award. See PolyOne

Corp. v. Westlake Vinyls, Inc., 937 F.3d 692, 698 (6th Cir. 2019). Such a challenge could be

foreclosed by waiver if the party consented to the arbitration, but the district court found no waiver

here because the record was “replete with Drake’s assertions that the MDL is the proper forum for

resolution of any fee dispute.” Drake, 2017 WL 6502489, at *8. Johnson does not contest that

finding, so we assume that waiver does not apply here.

                                          A. Arbitrability

       Arbitration agreements are placed “on equal footing with all other contracts,” Buckeye

Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443 (2006), and must be enforced “according to

their terms,” Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 67 (2010). This also means that

“parties may agree to have an arbitrator decide not only the merits of a particular dispute but also

‘“gateway” questions of “arbitrability,” such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.’” Henry Schein, Inc. v. Archer & White

Sales, Inc., 139 S. Ct. 524, 529 (2019) (quoting Rent-A-Center, 561 U.S. at 68-69). An agreement

to arbitrate questions of arbitrability may not be disregarded, but such a delegation requires “clear

and unmistakable” evidence that the parties agreed to have the arbitrator decide those issues. In
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re Automotive Parts Antitrust Litigation, 951 F.3d 377, 382 (6th Cir. 2020) (quoting Rent-A-

Center, 561 U.S. at 69 n.1).

       As alluded to earlier, Johnson contends that the Special Master’s dismissal of the second

JAMS proceeding was a binding determination that the fee dispute was not arbitrable under the

MSA. Assuming that the parties agreed to have JAMS Rules govern that arbitration, the Special

Master would have been delegated the authority “to determine jurisdiction and arbitrability issues

as a preliminary matter.” JAMS Rule 11(b). (No. 17-dp-20085, Page ID # 549.) Otherwise, the

MSA’s incorporation of the AAA’s Commercial Arbitration Rules could provide “clear and

unmistakable” evidence of an agreement to arbitrate questions of arbitrability. See Blanton v.

Domino’s Pizza Franchising LLC, 962 F.3d 842, 845-46 (6th Cir. 2020) (discussing incorporation

of AAA rules which provide that the arbitrator has “the power to rule on his or her own jurisdiction,

including any objections with respect to the existence, scope or validity of the arbitration

agreement”).4

       But, regardless of what may be implied from the Special Master’s order of dismissal,

“arbitrators derive their authority to resolve disputes only because the parties have agreed in

advance to submit such grievances to arbitration.” In re Automotive Parts, 951 F.3d at 382

(quoting AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 648 (1986)). As a result,

even when issues of arbitrability have been committed to an arbitrator, courts must first decide any

disagreement concerning “the formation of the parties’ arbitration agreement.” Id. at 383 (quoting

Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 298 (2010)). Indeed, this court has


4
  The same cannot be said for the ARA, which did not incorporate similar rules to govern any
arbitration. Nor does the ARA’s provision for arbitration of any dispute arising from the
“interpretation, performance, or breach of this Fee Agreement” provide comparably “clear and
unmistakable” evidence that the parties agreed to have the arbitrator decide questions of
arbitrability.
          Case: 19-4074 Document:
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expressly refused “to merge challenges to the validity of an agreement (‘whether it is legally

binding’) with challenges to the existence of an agreement in the first instance (‘whether it was in

fact agreed to’ or ‘was ever concluded’).” Id. at 385 (citations omitted); see also Blanton, 962

F.3d at 848-49 (explaining that the court must decide a non-signatory’s challenge to the existence

of an agreement to arbitrate even if the agreement incorporates the AAA Rules).

                                    B. Agreement to Arbitrate

       The starting place then is the existence of an arbitration agreement between the parties.

See Taylor v. Pilot Corp., 955 F.3d 572, 576 (6th Cir. 2020). State law governs the formation of

contracts, even though federal law determines whether the parties agreed to arbitrate questions of

arbitrability. Blanton, 962 F.3d at 846-47. The district court’s decisions regarding the existence

of a valid arbitration agreement are reviewed de novo. In re Automotive Parts, 951 F.3d at 381.

       The glaringly undisputed fact is that Johnson and Drake expressly agreed in the 2012 ARA

that “any dispute arising from the interpretation, performance, or breach of this Fee Agreement . .

. shall be resolved by final and binding arbitration conducted in Fort Worth, by any other arbitrator

that The Firm may choose.” The district court concluded, however, that this was no longer the

operative agreement because the parties had agreed to arbitrate their disputes under the provisions

of the MSA. The district court’s analysis rests on a mixture of contract principles, estoppel theory,

and its inherent authority to manage complex litigation. Drake, 2019 WL 4750608, at *3-4. We

address each in turn.

                                      1. Contract Principles

       The district court began with the unremarkable observation that Texas law recognizes that

parties may “amend their written arbitration agreement through a subsequent writing.” Drake,

2019 WL 4750608, at *3 (citing J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223, 227-28 (Tex.
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2003)). Here, however, there is no subsequent writing between the parties agreeing to amend or

modify the arbitration provisions in the ARA. Instead, the district court concluded that Drake and

Johnson both “became subject to” the 2015 MSA (which extended the 2013 MSA) and, therefore,

they had “agreed to a contract which contained a binding arbitration provision.” Id. at *3 and *4.

That is not the same as an agreement between them to arbitrate their contingent fee disputes before

a Special Master pursuant to the MSA—rather than before an arbitrator of the Firm’s choosing in

Texas. A closer look at the MSA is necessary.

       Recall that the MSA is an agreement to establish a private settlement program, to which an

eligible U.S. Claimant may “opt in.” Neither Drake nor Johnson are “parties” to the MSA itself—

it is an agreement between DePuy and a committee of plaintiffs’ attorneys (that did not include

Johnson). The Drakes argue that the fee dispute with Johnson is arbitrable under the MSA, which

provides for arbitration of “any dispute that arises under or otherwise in connection with . . . any

U.S. Program Claim.” (MSA § 14.1.2.) But the Drakes are wrong to suggest that this definition

of what disputes are arbitrable is an answer to the distinct question of who has agreed to arbitrate

such disputes. See, e.g., In re Automotive Parts, 951 F.3d at 385.

       The MSA actually sheds light on who agreed to submit such disputes to arbitration in the

preceding subsection: “Each Party, and by submitting an Enrollment Form and Release, each

Enrolling U.S. Program Claimant and Enrolling Counsel, agrees that authority over the process

. . . resides with those Persons appointed pursuant to this Agreement to exercise that authority in

making the determinations with respect to claims submitted to the U.S. Program to do so with the

authority of Arbitrators under the Federal Arbitration Act.” (MSA § 14.1.1.) In other words, it is

the enrollment that operates as consent to the dispute resolution process with respect to that

enrolled U.S. Program claim.      As an enrolling claimant, Drake certainly consented to the
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arbitration process for any dispute arising under or in connection with his U.S. Program claim.

While Johnson enrolled other claimants in the settlement program and would be bound to arbitrate

disputes arising under or in connection with those U.S. Program claims, Johnson was not Drake’s

enrolling counsel (and did not represent him at any time after the MSA was approved). Although

Johnson was an enrolling counsel for other U.S. Program claimants, that did not contractually bind

Johnson to arbitrate disputes vis a vis Drake’s U.S. Program claim.

       Nor does the district court’s passing citation to Branch Law Firm LLP v. Osborn, 532

S.W.3d 13-18 (Tex. App. 2016), support a contrary conclusion. Unlike here, the MSA in that case

settled all of the Avandia claims belonging to clients of the “Participating Law Firms”; was signed

by Turner Branch, as a member of the Lead Participating Law Firm, on behalf of all “Participating

Law Firms”; and expressly bound “Each Participating Law Firm, including all its current and

future attorney members of or affiliated with each firm,” to the terms and conditions of the MSA.

Id. at 15 and 16. Those terms included an express agreement to arbitrate disputes, including those

“between or among Participating Law Firms and/or members of Participating Law Firms arising

out of or in connection with this Agreement.” Id. at 16. Because Osborn was an attorney employed

as an associate of a Participating Law Firm, he was contractually bound under agency principles

to the terms and conditions of the MSA—including the arbitration provision. Id. at 18.

       Section 14.1 of the MSA does not establish that Johnson and Drake amended their prior

agreement to arbitrate any fee disputes under the ARA. Nor have the Drakes identified any other

contractual basis that would bind Johnson to arbitrate his contingent fee claims under the MSA.

                                   2. Direct Benefits Estoppel

       The district court also invoked the doctrine of “direct benefits estoppel,” which is a type of

equitable estoppel that applies in the arbitration context. See In re Kellogg Brown & Root, Inc.,
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166 S.W.3d 732, 739 (Tx. 2005). “In the archetypal direct-benefits case, the party opposing

arbitration seeks to enforce the terms of an agreement with an arbitration clause.” Jody James

Farms, JV v. Altman Group, Inc., 547 S.W.3d 624, 637 (Tx. 2018). But Johnson sought to enforce

the terms of the Fee Agreement—not the MSA.

       “A person who has not agreed to arbitrate may nevertheless be compelled to do so when

the person ‘seeks, through the claim, to derive a direct benefit from the contract containing the

arbitration provision.’” In re Morgan Stanley & Co., Inc., 293 S.W.3d 182, 184 n.2 (Tx. 2009)

(quoting In re Kellogg Brown & Root, 166 S.W.3d at 741). The district court pointed out that

Johnson’s fee claims are “dependent upon a recovery by the Drakes,” which, in turn, is “squarely

based upon the Master Settlement Agreement.” Drake, 2019 WL 4750608, at *3. Even so,

Johnson’s contingent fee claims did not seek to enforce any terms of the MSA against Drake.

       The district court also relied on the fact that Johnson had represented numerous other

plaintiffs who settled their ASR-related claims “pursuant to one or more of the ASR Settlement

Agreements.” Id. at *4. The fact that he represented other plaintiffs in other MDL cases is not a

direct benefit for purposes of this estoppel doctrine. And, to the extent that Johnson’s contingent

fee claim may have derived indirect benefits from the MSA, the MSA required a “holdback” of

5% of attorney’s fees from the settlement award for the common benefit fund. (MSA § 4.1.8.)

                                      3. Inherent Authority

       The district court also made passing reference to the “MDL court’s ‘inherent authority’ to

create and enforce mechanisms which ‘bring management power to bear upon massive and

complex litigation.’” Drake, 2019 WL 4750608, at *3 (quoting In re Vioxx Prods. Liability

Litigation, 760 F. Supp. 2d 640, 648 (E.D. La. 2010)). The mechanism adopted in In re Vioxx

involved the MDL court’s assessment of common benefit attorney’s fees to compensate the lead
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counsel’s work in the MDL. The MSA in this case employed a similar common benefit fund

mechanism, but that was not challenged by the competing motions to confirm or vacate the

arbitration award.

       “[A]n MDL court has broad discretion to create efficiencies and avoid duplication—of both

effort and expenditure—across cases within the MDL.” In re Nat’l Prescription Opiate Litigation,

956 F.3d 838, 841 (6th Cir. 2020). The coordination of effort in the MDL here illustrates the

advantages that MDL litigation can offer. “But the law governs an MDL court’s decisions just as

it does a court’s decisions in any other case.” Id. at 844. For example, because § 1407 only

authorizes transfers for pretrial proceedings, the Supreme Court held that an MDL court could not

transfer such a case to itself for trial under 28 U.S.C. § 1404. See Lexecon Inc. v. Milberg Weiss

Bershad Hynes & Lerach, 523 U.S. 26, 40 (1998).

       The district court’s power to compel arbitration under the MSA is no greater in the MDL

context than in any other case. Substantive law dictates that “no matter how strong the federal

policy favors arbitration, arbitration is a matter of contract between the parties, and one cannot be

required to submit to arbitration a dispute which it has not agreed to submit to arbitration.” In re

Automotive Parts, 951 F.3d at 383 (citation omitted). It was error in this case to find that the

parties’ express agreement to arbitrate under the ARA was subsequently amended, modified, or

otherwise superseded by the arbitration provisions of the MSA.

                                          *      *       *

       The district court’s orders denying confirmation and vacating the arbitration award in

Johnson’s favor are REVERSED and the cases are REMANDED for further proceedings

consistent with this opinion.
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       CLAY, Circuit Judge, dissenting. This appeal raises the rather unusual question of how

a dispute is to be arbitrated, rather than the more commonplace issue of arbitrability per se. The

parties agree that an arbitrator must decide to what extent, if any, an attorney is entitled to a fee

contingent on his former client’s settlement in a multi-district litigation (“MDL”). However, for

over six years, in four federal cases and two arbitrations, as well as for the second time before this

Court, that attorney and the client who terminated him in 2012 have vigorously litigated whether

the applicable arbitration procedures are determined by reference to their bilateral Attorney

Representation Agreement (“ARA”) or a Master Settlement Agreement (“MSA”) reached in the

MDL.1 The district court did not err in concluding that the attorney consented to arbitrate disputes

under the MSA or that his claim for a contingent fee was encompassed by that agreement. The

majority holds otherwise and concludes that, because the attorney did not represent his former

clients when they entered into the MSA, he did not consent to arbitrate this dispute under it.

Because that reasoning contravenes the explicit terms of the MSA, I respectfully dissent.

       I.      Background

       William S. Drake and his wife Andrea K. Drake (“the Drakes”) retained attorney Steven

M. Johnson to represent them in claims relating to William’s articular surface replacement

(“ASR”) hip implant.2 William underwent his hip replacement in or before 2008. The

manufacturer, DePuy Orthopaedics, recalled the ASR hip in 2010 due to widespread failures of




1
 All references to the MSA are to the 2015 MSA, rather than the 2013 version, which the majority
recognizes is unchanged for the issues relevant to this appeal. Citations are to the complete copy
available at the website indicated by the district court, www.usasrhipsettlement.com. Drake v.
DePuy Orthopaedics, Inc. (“Drake I”), Case No. 1:13-dp-20140-JJH, 2017 WL 6502489, at *6
(N.D. Ohio Dec. 19, 2017).
2
 While it appears that only William was a party to the ARA, William and Andrea are referred to
collectively in the district court’s order, and that practice is followed here.
            Case: 19-4074 Document:
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the device. Numerous suits followed, and the Judicial Panel on Multidistrict Litigation centralized

the actions involving the recalled devices in the Northern District of Ohio.

          Johnson was hired by the Drakes in January 2012 pursuant to an Attorney Representation

Agreement. The engagement was limited to claims relating to the DePuy ASR hip device and

provided that Johnson would be compensated by a 40% contingent fee, exclusively out of a share

of the recovery, if any, “by way of settlement, judgment or otherwise . . . .” (ARA, R. 10-4, Page

ID #267.) 3 Johnson was granted a lien on the ASR cause of action, and the parties agreed that

“any dispute arising from the interpretation, performance, or breach of the” ARA “shall be resolved

by final and binding arbitration conducted in Fort Worth, by any other arbitrator that The Firm

may choose.” (Id.) The ARA was signed after approximately fifty-seven calls and letters to the

Drakes over nearly sixteen months by Johnson’s law firm. The last communication sent by Johnson

stated “[f]ailing to contact us may result in the closing of your file and the loss of your rights.”

(Corr. Final Award, R. 10-3, Page ID #252.)

          Less than a year later, the Drakes terminated Johnson’s representation and retained other

counsel. On November 28, 2012, Andrea called Johnson’s law firm to express some doubts about

maintaining their representation and explain that the Drakes might hire another lawyer. On

November 30, 2012, Johnson filed a document captioned as a “Short Form Complaint for DePuy

Orthopaedics, Inc. ASR Hip Implant Products Liability Litigation,” in the Northern District of

Ohio. That same day, Johnson was notified that the Drakes had hired another attorney to represent

them in connection with ASR hip claims. Johnson responded to the Drakes’ new counsel by giving

notice of a claimed lien of 40% of any amount recovered in the DePuy suit. The Drakes’

subsequent counsel filed an ASR hip case against DePuy and related entities on January 24, 2013.


3
    Citations to the district court record (“R.”) refer to Case No. 1:13-dp-20140-JJH (N.D. Ohio).
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The case was transferred to the Northern District of Ohio for MDL consolidated proceedings. The

action initiated by Johnson on the Drakes’ behalf was dismissed pursuant to stipulation on June

26, 2013. The parties “recognize[d] that the Johnson Law firm [sic] has asserted a claim on any

recovery [the Drakes] may make for any injuries related to the DePuy ASR for the full amount of

all monies that JLF is entitled to under the terms of its contract with [the Drakes] and that this

dismissal shall have no effect on those claims.” (Stipulation of Dismissal, R. 11-2, Page ID #361.)

       A global settlement was reached between DePuy and a committee of plaintiffs’ attorneys

in November 2013. Drake v. DePuy Orthopaedics, Inc. (“Drake II”), 757 F. App’x 449, 451 (6th

Cir. 2018). The Drakes joined this settlement shortly thereafter. Id. They settled a portion of their

suit against DePuy for $561,750, and an Extraordinary Injury Fund claim is still possibly

outstanding. Id. at 452 n.7.

       As early as June 30, 2014, the Drakes’ current counsel proposed to resolve the dispute over

Johnson’s contingent fee claim according to the arbitration procedures provided in the MSA.

Johnson refused. Instead, on July 13, 2014, he initiated an arbitration with JAMS, a private

alternative dispute resolution provider, in Dallas pursuant to the ARA (“Dallas arbitration”), and

the next day filed a suit to compel arbitration in the Northern District of Texas. The federal suit

was dismissed for lack of personal jurisdiction on November 25, 2014. In early 2016, the Drakes

initiated an arbitration pursuant to the terms of the MDL MSA with Special Master Cathy Yanni.

Special Master Yanni was a member of JAMS, like the Dallas arbitrator, and dismissed the matter

upon being informed of the ongoing JAMS proceeding on March 9, 2016.4 Shortly thereafter,


4
 Johnson argues that implicit in Special Master Yanni’s dismissal is a binding determination that
that his claims do not come within the scope of the MSA. However, Special Master Yanni’s order
makes no reference to the MSA, and instead appears to base the jurisdictional determination
entirely on the fact that another JAMS arbitration, the Dallas arbitration, was already proceeding.
See Drake II, 757 F. App’x at 452.
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Johnson dismissed another suit to compel arbitration that he had filed in the Northern District of

Texas.

         On June 22, 2016, the Dallas arbitrator found in favor of Johnson and awarded him a net

35% contingency fee from the Drakes’ DePuy settlement awards in the amount of $196,612.50,

35% of any future recovery, a lien on recovered claims, attorney fees in the amount of $136,457,

and arbitration costs in the amount of $20,145.47. The same day, the Drakes filed a motion in the

Northern District of Ohio to enforce the MSA and vacate the award. On July 7, 2016, Johnson

filed another suit in the Northern District of Texas, this time to confirm the arbitration award. On

December 20, 2017, the district court for the Northern District of Texas transferred Johnson’s latest

case to the Northern District of Ohio for possible consolidation with the Drakes’ pending suit.

         Just the day prior, on December 19, 2017, the district court had granted the Drakes’ motion

to enforce the MSA and had declined to address their motion to vacate the arbitration award. Drake

I, 2017 WL 6502489, at *9. Johnson appealed that decision, but we found we lacked jurisdiction

because there was no final order under 28 U.S.C. § 1291 or an interlocutory order appealable under

the Federal Arbitration Act (“FAA”), 9 U.S.C. § 16(a)(1)(E). Drake II, 757 F. App’x at 452–53.

We directed the district court to consider Johnson’s application to confirm the arbitration award

and the Drakes’ motion to vacate the same. Id. at 453–54.

         In a December 30, 2019 memorandum opinion and order the district court denied Johnson’s

motion to confirm the Dallas arbitration award, granted the Drakes’ motion to vacate the same,

and directed the parties to pursue arbitration pursuant to the MSA. Drake v. DePuy Orthopaedics,

Inc. (“Drake III”), Case No. 1:13-dp-20140-JJH, 2019 WL 4750608, at *4 (N.D. Ohio Sept. 30,

2019). Johnson timely appealed.
            Case: 19-4074 Document:
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          II.    Discussion

          This Court reviews findings of fact for clear error and questions of law de novo in appeals

of district court decisions either vacating or confirming an arbitrator’s award under the FAA.

Samaan v. Gen. Dynamics Land Sys., Inc., 835 F.3d 593, 599 (6th Cir. 2016). A district court must

issue an order confirming an arbitrator’s award “unless the award is vacated, modified, or corrected

as prescribed in [9 U.S.C. §§] 10 and 11 . . . .” 9 U.S.C. § 9. Section 10 provides the exclusive

grounds for vacatur under the FAA. See Hall Street Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576,

584 (2008). As the majority recognizes, the Drakes have abandoned their argument for vacatur on

the basis of partiality under § 10(a)(2). Since there is no allegation of fraud, § 10(a)(1), or arbitrator

misconduct, § 10(a)(3), the award in this case may be vacated only if “the arbitrators exceeded

their powers, or so imperfectly executed them that a mutual, final, and definite award upon the

subject matter submitted was not made.” 9 U.S.C. § 10(a)(4).

          As the Supreme Court has recognized, “the first principle that underscores all of our

arbitration decisions [is that a]rbitration is strictly a matter of consent, and thus is a way to resolve

those disputes—but only those disputes—that the parties have agreed to submit to arbitration.”

Granite Rock Co. v. Int’l Brotherhood of Teamsters, 561 U.S. 287, 299 (2010) (internal quotation

marks and citations omitted). As the majority correctly recognizes, neither the Drakes nor Johnson

were signatories to the MSA itself—it was an agreement between DePuy and a committee of

plaintiffs’ attorneys of which Johnson was not a member.5 However, the MSA also provides that

certain other parties may agree to submit disputes to arbitration as delineated in that agreement.

The relevant provision provides:

          Each Party [i.e., DePuy and plaintiffs’ counsel committee] and, by submitting an
          Enrollment Form and Release, each Enrolling U.S. Program Claimant and

5
    Johnson had applied to the district court for an appointment to the committee.
           Case: 19-4074 Document:
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       Enrolling Counsel, agrees that authority over the process contemplated by the U.S.
       Program, including any Claims submitted under the U.S. Program, resides with
       those Persons appointed pursuant to this Agreement to exercise that authority, as
       such authority is specified in this Agreement and that the Claims Administrator,
       Claims Processor and Special Masters in making the determinations with respect to
       claims submitted to the U.S. Program do so with the authority of Arbitrators under
       the Federal Arbitration Act and their decision, except as subject to review under the
       Agreement, are final, binding, and Non-Appealable.

(MSA § 14.1.1)

       Both the Drakes and Johnson qualify under this section and are therefore required to submit

qualifying disputes to the arbitrators designated under the terms of the MSA. Evidence in the

record shows that the Drakes submitted a release of claims and enrolled in the U.S. Program (i.e.,

the settlement). Accordingly, they qualify as “Enrolled U.S. Program Claimants,” as defined by

MSA § 1.2.25.2. Similarly, Johnson is an “Enrolling Counsel” under the MSA since that term is

defined as “the Primary Law Firm or other Counsel who files an Enrollment Form on behalf of

any” claimant. (MSA § 1.2.26)6 The district court found “[t]he fact that Johnson no longer

represented the Drakes at the time they entered into the 2013 Settlement Agreement does not alter

the conclusion that Johnson’s claim for his alleged lien is governed by the terms of that and

subsequent Settlement Agreements. Johnson represents numerous plaintiffs who settled their

claims pursuant to one or more of the ASR Settlement Agreements.” Drake III, 2019 WL 4750608,

at *4. Under the terms of the MSA, it is irrelevant that Johnson did not enroll the Drakes in

particular. Therefore, Section 14.1 of the MSA establishes that Johnson and the Drakes both agreed

“that authority over the process contemplated by the U.S. Program, including any Claims

submitted under the U.S. Program, resides with those Persons appointed pursuant to this



6
  “Counsel” is defined as “with respect to any particular Person, a lawyer and/or law firm who
represents such Person pursuant to a written agreement, or who has an Interest in such Person’s
Claim Connected with ASR Hip Implants.” (MSA § 1.2.19)
          Case: 19-4074 Document:
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Agreement to exercise that authority, as such authority is specified in this Agreement . . . .” (MSA

§ 14.1.1)

       The majority concludes that both the Drakes and Johnson agreed to arbitrate disputes

related to the ASR settlement under the terms of the MSA, but only disputes regarding certain

ASR hip claims. Specifically, the majority holds that while Johnson agreed to arbitrate disputes

relating to claimants he enrolled in the settlement program, by enrolling those clients he did not

thereby agree to arbitrate his contingent fee dispute with the Drakes, whom he did not enroll in the

settlement or represent subsequent to the approval of the MSA.

       That conclusion is irreconcilable with the terms of the agreement. As the majority

recognizes, the MSA provides for the arbitration of “any dispute that arises under or otherwise in

connection with . . . any U.S. Program claim.” (MSA § 14.1.2) Johnson’s claim for 35% of the

Drakes’ settlement clearly qualifies under that expansive language. The Drakes as “Enrolling U.S.

Program Claimants” and Johnson as “Enrolling Counsel” “agree[d] that authority over the process

contemplated by the U.S. Program . . . . resides with those Persons appointed pursuant” to the

MSA “as such authority is specified in” the MSA. (MSA § 14.1.1) That authority over “any dispute

that arises under or otherwise in connection with . . . any U.S. Program Claim” encompasses the

power to arbitrate the instant dispute. (MSA § 14.1.2) There is nothing in the text of the MSA to

support the majority’s interpretation that enrollment in the settlement program operates as consent

to arbitrate only certain disputes relating to certain settlement claims.

       A Texas Court of Appeals decision concerning a fee dispute between an attorney and his

former law firm, Branch Law Firm L.L.P. v. Osborn, 532 S.W.3d 1, 13–18 (Tex. App. 2016),

discussed by the majority is consistent with this analysis. In that case, the court determined the

attorney was required to arbitrate according to a master settlement agreement to which he was not
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a signatory because he was a “Participating Law Firm,” as defined under the applicable agreement.

Id. at 17–18. The majority incorrectly states that the court’s holding depended upon agency

principles. While his former law firm made agency-based arguments, the court concluded that the

attorney was bound by the agreement to arbitrate because the master settlement agreement’s

“definition of a Participating Law Firm encompasse[d]” him. Id. at 18. Just like the attorney there,

Johnson meets the relevant agreement’s applicable definition for counsel bound to arbitrate

disputes.

       Accordingly, there are two contracts that cover Johnson’s contingent fee claim: the ARA

between the Drakes and Johnson, and the MSA. “In the context of multiple contracts, this court

has adopted a more narrow test of arbitrability, examining which agreement, ‘determines the scope

of’ the contested obligations.” Nestle Waters N. Am., Inc. v. Bollman, 505 F.3d 498, 504 (6th Cir.

2007). The majority did not evaluate this case under Nestle Waters because it found there was only

one relevant contract, the ARA. Nevertheless, the analysis that it does undertake supports the

conclusion that the scope of Johnson’s claim is determined by the MSA and therefore must be

arbitrated according to its terms. The majority notes “to the extent that Johnson’s contingent fee

claim may have derived indirect benefits from the MSA, the MSA provided a ‘holdback’ of 5% of

attorney’s fees from the settlement award for the common benefit fund.” Ante at 13 (citing MSA

§ 4.1.8). This so-called holdback was adopted by the Dallas arbitrator, who, despite recognizing

that under the ARA the Drakes agreed to pay a contingent fee of 40%, only awarded Johnson a

“net” 35% fee because “the MDL judge assessed a ‘common benefit’ fee applicable to all claimant

attorney fee awards.” (Corrected Final Award, R. 10-3, Page ID #260.)

       As the district court stated, “[p]ermitting a party to any contract—to say nothing of one

governing an area as broad and complex as the area this MDL addresses—to choose which
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provisions of that agreement it will abide by, and which it won’t, simply is untenable.” Drake III,

2019 WL 4750608, at *4; see also Stratton v. Portfolio Recovery Assocs., LLC, 706 F. App’x 840,

846 (6th Cir. 2017) (recognizing that a party “cannot pick and choose which provisions of [a]

contract are enforceable” (citation omitted)). Johnson himself stipulated to the 5% common benefit

fee required by the MSA in the Dallas arbitration. This means that the scope of the Drakes’

“contested obligations” according to the majority, the Dallas arbitrator, and Johnson himself was

determined by the MSA. Accordingly, arbitration of Johnson’s contingent fee claim must follow

the procedures provided in that agreement under Nestle Waters.

        There is no suggestion that the Dallas arbitration proceeded according to the terms required

by the MSA. The MSA designated three special masters “to oversee the administration of claims

for benefits and to make final and binding determinations under this Agreement with the authority

of an Arbitrator under the Federal Arbitration Act.” (MSA § 12.4.2) None of those so designated

were the Dallas arbitrator. “When an arbitrator reaches a question not committed to him by the

parties, he acts outside of his authority such that an order vacating such an award is appropriate.”

Totes Isotoner Corp. v. Int’l Chem. Workers Union Council/UFCW Local 664C, 532 F.3d 405,

415 (6th Cir. 2008) (citations omitted); see also 9 U.S.C. § 5 (“If in the agreement provision be

made for a method of naming or appointing an arbitrator or arbitrators or an umpire, such method

shall be followed . . . .”).

        The district court’s refusal to confirm the Dallas arbitration, decision to vacate the same,

and order to the parties to adhere to the arbitration procedures set forth in the MSA were correct.

Given that Johnson consented to abide by the arbitration provisions in the MSA through his

representation of settling DePuy Orthopaedics claimants, I need not address the majority’s analysis
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relating to direct benefits estoppel or the inherent authority of the district court to manage an MDL

before concluding that the district court’s orders should be affirmed.

       III.    Conclusion

       Because Johnson consented to the arbitration procedures outlined in the MSA for disputes

relating to the ASR hip MDL settlement, I would affirm the orders of the district court refusing to

confirm the Dallas arbitration award, vacating the same, and directing the parties to proceed with

arbitration pursuant to the MSA. Accordingly, I respectfully dissent.
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                     EXHIBIT C
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                                      ATTORNEY REPRESENTATION AGREEMENT - DEPUY MR HIP DEVICE


  1. CLIENT(S), hereby retain(s) Steven M. Jcheson, P.0 dible The Johnson Law Finn (.1tF), (hereinafter 'attorneys' or Tire)
                                                                                                                                attorneys to bring al chime
   MO may have against the manufacturer and distributor of the DEPUY ASR HIP DEVICE that caused CbenTs Injuries, hereafter re erred to as the 'claim'
 2. Client tradeistands and agrees that The Firm has not been relented to Investigate or pursue, and will not Investigate or.                . any mediae nelpractice
 action against ofenTs doctors or any heir/exam provider or facility.
 3. For services rendered and lobe rendered in this matter cite,* agrees to pay the attorneys a lee, CONTINGENT ON WHAT IS COVERED In thirstier
                                                                                                                                                bY
 way of settlement judgment or otherwise. to be computed as FORTY PERCENT (40%) of all sums recovered.

 4. After the above fees are deduct/etc:Gerd shall pay to attorneys, ONLY OUT OF THE CLIENT'S SHARE OF THE RECOVERY               D NOT OUT OF CLIENT'S
  POCKET. all court costs and expenses, advanced by the attorneys in connection with said miler. Costs shalt Maude any "NOL                t or Far, 'common
 benefa fee' or any other fee or cost imposed by any court or withheld horn any setJemsnl or judgment The attorneys are a            to Incur those expenses
 they deem 'assemble and necessary to accomplish a satisfactory resolution of the claim and shall advance those expenses a Incurred. The cost ol these
 &dykes not to exceed the cusbrrany end reasonable charges for such services In the geographic bxadon they are provided. C         NT WILL NQT CWE TH
                                                                       ANY              .4                           1.• AL I . • 1p,,
 NOTHING ELEtECOVEREDitaBENALF OF THE CLIENT.
 5. Attorneys, they agents and employees, shall lake all steps deemed by them lobe necessary, reasonable and appropriate to                 rty prosecute Me darn.
 S. THE CLIENT HEREBY GRANTS THE ATTORNEYS A LIEN ON THIS CAUSE OF ACTION. and a lien on any proceeds an any Judgments recovered In
 connection wi lh this cause of astkes as security for the payment of attorneys' fees and expenses as contracted for herein. Attorneys Y +=AP the& ilia rest
 7. THE CLIENT AGREES THAT THE ATTORNEYS RETAIN THE RIGHT AT ANY TIME FOLLOWING INVESTIGAT         • DISCOVERY, CR LEGAL
  RESEARCH, TO RELEASE THEMSELVES FROM THIS CONTRACT AND WITHDRAW FROM THE REPRESENTATION OFT CLIENT. THE ArORNEYS
 WILL RETAIN A LIEN ON THE CASE FOR EXPENSES AND COSTS IN THE EVENT OF SUCH A WITHDRAWAL. WHICH HA BEENADVANCED ON THE
 cumrs BEHALF. THE CLIENTAGREES TO PROTECT SUCH SUMS OUT CF ANY RECOVERY ULTIMATELY OBTAINED IN E CASE.
IL This COWING' is entered into In Tarrant County, Texas, which shall also be the place of performance and payment In acco                      with the terra ol the
 contract. Furthermore, this contract contains all the agreements of the parties. This agreement shall be construed in accords           eith the laws of the Slate of
 Texas, and at etaigaTions of the parties are performable In Tenant County. Texas. In case any one or more of the provisions con               In this agreement shall
 be held to be Invalid, Segel, or unenforthebie in any respect. such Invalidly. illegality. or unenforceabally chat not affect any other     goo, and this agreement
 shall be construed as If such invalid, Illegal, or unanforceabie provision did not exist. This agreement constitutes the only            eement of the folles and
 supereedos any prior InderstencEngs or written or brat agreements between the parties respecting the subiud matter.
9. CLIENT hereby gives ATTORNEY power of attorney to execute all documents, In CLIENTS name. associated with any late                      which may arise out of the
Incident in question, Including, but not frilled to, authorizations for the release of protected records, Interrogatory answers, Wad          bust documents, and/or
other StIgationacialed documentation.
10. Before signing this fee contract I acknoafedge thati have mad it completely and understand it, or that it has been read and explained to me, and that all
blanks have been completed and that I have received a copy.
11. This contract is Uttering on the clients' heirs, executors, administrators and guardians of the person or estate.
12. The dent acknowledges that the attorneys have made NO GUARANTEE regarding the successful resciudon of said cause action, and aSenxessicns
retain.° thereto are mattered attorneys °Onion only and shall not be considered as express or Implied warranties of the dawn's out a.
13. Attorneys have advised atent of the advantages and disadvantages of the use of arbitration to resolve any disputes a                from the Interpretation,
performance, or breath of this Fee Agreement ChM acknowledges that the Client understands that agreement to arbitration arts that Client sires up or
 waives the right lo a jury trial, which may affect the amount of damages. If any, Warred* awarded to the chem, end that the        Ts right to discovery all be
more limited than in a trial promocEng. 8 ts. nevertheless. Client's desire that this Fee Agreement provide for binding arbitration any disçejte bgeeen then,
and the Hrm.                                                                                                 ncufwr *emu. RE                    X X
14.. Mornay' and Client agree that any dispute arising from the interprelegbn, performance, cr breach of this Fee Agreamen Including any dram of Segel
malprathce, lad net Including attorney disdplinary proceedings, shall be resolved by final and binding erbthalion conducted In Fort orth, by any otter arbitrator
thatThe Finn may choose. Attorneys and Client further agree that Judgment upon any award rendered by the arbitrator In such • ,;:.• • • Ogs maybe entered by
&metale or federal oosi with jurisdiction over Me matter.                                            "ICLIENT/NIT1AL HERt          w          X
15. Client adevasiedges that Attorneys have specifocalty advised Cient of the advantages and disadvantages of the use of orbit:at  to resolve disputes arising
from the kderpretalion, perforniarsok of breach of this Fee Agreement and given Client the opportunity to seek the advice of • • y nt counsel con:erring this
 provision and Client has either done so or expressly declines to do so.                           '"ICLIENTINITIA.L HERE                 D
18. I hereby swear and +Rine I voluntarily and of my own free ivtil and choice, without any solicitation whatsoever, by The Firm         anyone else, incking any
 referring attorney, employedThe Firm, without any prornise of any remuneration or special favor as my attorneys to compromise,           a, try or receive Ilx snd as
my name al dernages arising to me out of the above styled case.
17. /AM NOT REPRESENTED BY ANY OTHER LAW FAN OR ATTORNEY ON THIS CLAIM.




                                                                  DATE




                                                                  DATE
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                     EXHIBIT E
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

STEVEN M. JOHNSON                                (
     Petitioner                                  (
                                                 (
VS.                                              (           No. 3:16-cv-01993-L
                                                 (
WILLIAM SCOTT DRAKE                              (
     Respondent                                  (

                        PETITIONER STEVEN M. JOHNSON'S
                       AMENDED APPLICATION FOR ORDER
                   CONFIRMING DOMESTIC ARBITRATION AWARD

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Petitioner, Steven M. Johnson, makes application for an order from this Court confirming

the Corrected Final Award received in a domestic arbitration, rendered by the Honorable Glen

Ashworth (Ret.) of Judicial Arbitration and Mediation Services (“JAMS”), Dallas, Texas.

                                          A. PARTIES

1.      Petitioner Steven M. Johnson ("Johnson"), is an individual, a citizen of Texas, and engaged

in the practice of law with a principal place of business in Fort Worth, Tarrant County, Texas.

2.      Respondent William "Scott" Drake ("Drake") is an individual and citizen of Minnesota with

an address located at 1477 Sherman Lake Road, Lino Lakes, Minnesota 55082. He may be served

at this address.

                              B. JURISDICTION AND VENUE

3.      This is a proceeding to confirm a domestic arbitration award arising under the Federal

Arbitration Act, 9 U.S.C. §§ 1, 9 (West 2016).


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CONFIRMING DOMESTIC ARBITRATION AWARD                                                       PAGE 1
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4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.A §

1332(a)(1) because Johnson and Drake are citizens of different U.S. states and the amount in

controversy of this matter well exceeds the sum or value of $75,000, exclusive of interest and costs.

The Corrected Final Award in arbitration which Petitioner seeks to confirm equals or exceeds

$353,214.97 (Three Hundred Fifty-Three Thousand Two Hundred Fourteen Dollars and 97 cents).

See Appendix, Exhibit F, APX054-055, Corrected Final Award dated July 7, 2016, filed

concurrently with this Application, and incorporated herein.

5.      The Court additionally has personal jurisdiction over Respondent William "Scott" Drake

pursuant to 9 U.S.C. § 9 because this dispute arises out of a contract for legal services requiring

performance in the state of Texas, and Drake has participated in an arbitration in Dallas, Texas, since

2014, the Arbitrator finding that he had subject matter jurisdiction over the dispute and personal

jurisdiction over Drake. App., Exhibit A, APX001; Exhibit F, "Procedural History," APX040-041.

Notice of this Application has been served on Drake, thereby giving this Court "jurisdiction of such

party as though he had appeared generally in the proceeding." 9 U.S.C.A. § 9.

6.      Venue is proper in this Court because a substantial part of the events giving rise to this

Application have taken place within this District and Division, and the parties proceeded in Dallas,

Texas, as the venue for their arbitration, which has been in process since August 1, 2014. 28U.S.C.

§ 1391(b)(2); App., Exhibit F, APX038-057. In addition, venue in this District is proper pursuant

to 9 U.S.C.A. § 9 in that the Contract out of which this fee dispute arose does not specify the Court

which is to confirm an arbitration award, see App., Exhibit A, Section 14, APX001, filed

concurrently with this Application and incorporated by reference. Consequently, venue is proper

under 9 U.S.C.A. § 9 in that the Corrected Final Award, App., Exhibit F, was made in the Northern

PETITIONER JOHNSON’S AMENDED APPLICATION FOR ORDER
CONFIRMING DOMESTIC ARBITRATION AWARD                                                           PAGE 2
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District of Texas, Dallas Division. App., Exhibit F, APX038-057.

                                C. CONDITIONS PRECEDENT

7.      All conditions precedent have been performed or have occurred. The Corrected Final Award

is final under JAMS Rule 24(k).1

                                   D. FACTS OF THE CASE

8.      At all times relevant to these pleadings, Steven M. Johnson was a duly licensed attorney in

good standing with the State Bar of Texas, and practiced law by and through Steven M. Johnson,

P.C., d/b/a The Johnson Law Firm. App., Exhibit F, APX042.

9.      Drake was implanted with defective DePuy Hip ASR prosthetic devices in April 2007 and

May 2007. App., Exhibit F, APX042. On or about September 27, 2010, Drake's wife contacted

Johnson's law firm in Fort Worth, Texas, by phone and advised that Drake had been implanted with

DePuy ASR hip implants, asserted personal injuries had resulted from these implantations, and

requested information about retaining Johnson to represent Drake with respect to his claims.

Johnson confirmed Drake's contact by mail that date and sent the requested information to Drake.

App., Exhibit F, APX042-043.

10.     Johnson provided detailed information about the defective hip prosthesis, and the DePuy Hip

ASR litigation in general, to Drake after the initial contact. Id. A Multi District Litigation was

created for investigating, handling, and processing claims arising from the defective implants in 2010



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 The Award is considered final, for purposes of either the Optional Arbitration Appeal Procedure
pursuant to Rule 34 or a judicial proceeding to enforce, modify or vacate the Award pursuant to Rule
25, fourteen (14) calendar days after service is deemed effective if no request for a correction is
made, or as of the effective date of service of a corrected Award. JAMS Rule 24(k).
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or 2011. On or about January 30, 2012, Johnson and Drake entered into a valid written contract,

entitled Attorney Representation Agreement ("Contract"), with respect to said claims, attached hereto

as App., Exhibit A, APX001; Exhibit F, APX043. This Contract contained arbitration provisions

which were separately initialed by Drake. App., Exhibit A, Sections 13-15, APX001. The Contract

required that "any disputes between attorney and client" other than disciplinary actions were to be

arbitrated. App., Exhibit A, Section 14, APX001.

11.    The Contract provided for a fee, contingent on what would be recovered, to be computed as

forty percent (40%) of all sums recovered on Drake's claims, in addition to all costs and expenses

advanced by Johnson, and a lien on Drake's claims and on any proceeds or judgments recovered in

connection with the claims as security for the payment of the attorneys' fees, costs, and expenses.

App., Exhibit A, Section 3, 4, 6, APX001. On November 30, 2012, Johnson filed a Short Form

complaint on behalf of Drake since Johnson had just been made aware that Drake was going to

undergo a revision of one of the hip prostheses in the near future. App., Exhibit A, Section 9,

APX001; Exhibit F, APX044, 049.

12.    On December 6, 2012, Johnson received by mail a letter dated November 30, 2012, from

attorney Charles H. Johnson on behalf of Drake, unilaterally substituting in as counsel for Drake in

the MDL lawsuit and terminating Johnson's representation without stating any reason stemming from

Johnson's actions in the case, simply advising that Drake wanted an attorney local to him and that

Charles Johnson had an ongoing professional relationship with Drake's family. App., Exhibit F,

APX044. Johnson promptly provided Mr. Charles Johnson, the second lawyer for Drake, and later

Meshbesher & Spence, Ltd., the third lawyer for Drake, with copies of the file, as requested, and

notified each that Johnson retained Johnson's 40 percent contractual fee interest with respect to any

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recovery obtained on Drake's claims. App., Exhibit F, APX044.

13.    On December 17, 2012, Drake underwent the first revision of one of his hip prostheses. He

subsequently underwent multiple revisions on both hips. App., Exhibit F, APX044-045. On January

14, 2013, Drake terminated his second lawyer, Charles Johnson, and then later retained Drake's third

and current attorneys, Meshbesher & Spence, Ltd. App., Exhibit F, APX044.

14.    Settlements were reached in the DePuy Hip ASR MDL litigation in 2013 and 2015, and

Drake's claims were submitted for settlement awards by Meshbesher & Spence in 2014 and 2015.

One settlement claim for a discretionary lost wages claim is still pending. App., Exhibit F, APX045.

15.    Drake, by and through Meshberger & Spence, refused to honor Johnson's demand for the

contractually agreed contingency fees. App., Exhibit F, APX044. On August 1, 2014, Johnson filed

an Original Complaint, Application to Compel Arbitration, and Request for Declaratory Relief in

the Northern District of Texas, Cause No.14-cv-00611-A, asking the District Court to compel an

arbitration proceeding between Johnson and Drake, or alternatively requesting the Court to declare

the rights and interests of Johnson with respect to the Contract. Ultimately, the District Court (prior

to any arbitration commencing) concluded that it did not have personal jurisdiction over Drake to

compel arbitration, and dismissed the Complaint in the Northern District of Texas for lack of

personal jurisdiction on November 25, 2014. App., Exhibit F, APX041.

16.    In addition to the Original Complaint and Motion to Compel Arbitration filed in the Northern

District of Texas, Johnson commenced an arbitration with JAMS Dallas on August 1, 2014, styled

"Steven M. Johnson vs. William Drake, JAMS Ref. No. 1310021501," by filing a Demand for

Arbitration. App., Exhibit F, APX038, 041. Johnson served the Demand on Drake, who filed a



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Response to Arbitration and Statement of Affirmative Defenses. JAMS issued a Commencement

Letter, notifying the parties that the requirements for arbitration were met in accordance with

applicable JAMS Comprehensive Rules and Procedures. App.,Exhibit F, APX040-042. Drake

participated in selection of the arbitrator pursuant to JAMS Rules and Judge Glen Ashworth (Ret.)

was selected. Id., APX041. Drake asserted untimely objections to the arbitration. He was held to

have waived any jurisdictional complaints under the JAMS Rules by Order of the Arbitrator on

January 20, 2015. The Arbitrator found that JAMS had jurisdiction to arbitrate this matter between

the parties and that the issues were arbitrable. App., Exhibit F, APX041.

17.    Subsequently, Drake exchanged discovery in the arbitration, engaged in settlement

negotiations with Johnson, participated in several hearings, sought and scheduled depositions of the

parties, produced an expert report in rebuttal to Johnson's designation, and sought an extension of

the discovery schedule. App., Exhibit F, APX041.

18.    On February 17, 2016, Johnson was served with a "Scheduling Order No. 1" issued by

Special Master Cathy Yanni of JAMS in "Steven M. Johnson P.C., d/b/a The Johnson Law Firm v.

William Drake in JAMS Reference No. 1200048059," purportedly initiating a separate JAMS

arbitration under the "Master Settlement Agreement" in the DePuy Hip ASR Settlement. App.,

Exhibit C, APX009-010; Exhibit F, APX042. Many lengthy motions and responses were filed by

both parties in both arbitrations urging their positions.

19.    Johnson also filed a Petition in the Northern District, Dallas Division, Case No.

3:16-cv-00493-D, seeking an order compelling the JAMS Dallas arbitration to proceed to resolution.

App., Exhibit F, APX042. However, Special Master Yanni then concluded that she did not have

jurisdiction and closed the second JAMS arbitration. App., Exhibit C, APX009-010; Exhibit F,
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APX042. Johnson, therefore, nonsuited it’s Petition before any ruling had been made by the

Northern District Court, and the JAMS Dallas arbitration proceeded to full hearing over three days,

April 10, May 9, and May 10, 2016. App., Exhibit E, APX030-037; Exhibit F, APX042.

20.    On July 7, 2016, Judge Ashworth issued a Corrected Final Award in favor of Johnson in the

following respects:

       a.      The parties' Attorney Representation Agreement was found to be a valid and

               enforceable contract;

       b.      Drake's claim for Fraudulent Inducement was denied;

       c.      The parties' Attorney Representation Agreement was found to have been terminated

               by Drake without "good cause;"

       d.      Drake's claim of an unconscionable fee was denied;

       e.      Drake's claim for fee forfeiture was denied;

       f.      Johnson was awarded his net 35% contingency fee from Drakes Part A and B

               Settlement award in the amount of $196,612.50;

       g.      Johnson was awarded his net 35% contingency fee from Drake's discretionary loss

               of earnings award (EIF Claim no. 3585) to the extent of the as yet undetermined

               amount when and if Drake recovers from that claim;

       h.      Johnson was granted a lien on Drake's recovered claims (itemized in subsections f.

               and g., supra);

       i.      Drake was found to have breached the Attorney Representation Agreement;

       j.      Johnson was awarded Johnson's attorneys fees in the amount of $136,457 incurred

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              in seeking to recover his contingency fee and costs;

       k.     Johnson was awarded Johnson's expended JAMS costs and Arbitrator's costs in the

              amount of $20,145.47; and,

       l.     Johnson's attorneys' claims for litigation expenses and costs were denied. App.,

              Exhibit F, APX054-055.

21.    Petitioner hereby files this application to confirm the Corrected Final Award reflected in

App., Exhibit F, APX054-055.

                                         E. PRAYER

22.    The Corrected Final Award handed down by Judge Ashworth is a final, binding award

without defect under the law. For these reasons, Petitioner asks the Court to issue an Order

confirming the Corrected Final Award and enter judgment in Petitioner's favor against Respondent

in accordance with the Corrected Final Award, for which let execution issue.

                                            Respectfully submitted,

                                                    /s/ Thomas R. Needham
                                            BY:     _____________________________
                                                    Thomas R. Needham,
                                                    State Bar No. 14855300
                                                    johnsonneedhamlaw@gmail.com
                                                    Law Offices of Thomas R. Needham
                                                    909 Meadow View Drive
                                                    Richardson, Texas 75080
                                                    (817) 523-1330 (469) 248-0602 fax
                                                    ATTORNEYS FOR PETITIONER,
                                                    STEVEN M. JOHNSON




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                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

STEVEN M. JOHNSON,                                 §
                                                   §
                 Plaintiff,                        §
                                                   §
v.                                                 §    Civil Action No. 3:16-CV-1993-L
                                                   §
WILLIAM DRAKE,                                     §
                                                   §
                 Defendant.                        §

                                               ORDER

        Before the court is Respondent’s Motion to Dismiss, or in the Alternative to Stay Proceedings

(Doc. 43), filed April 24, 2017. After considering the motion, briefs, evidence, the record, and

taking judicial notice of the proceedings in related Civil Action No. 1:13-DP-20140, pending in the

United States District Court for the Northern District of Ohio, Western Division, the court sua sponte

transfers this action to the Northern District of Ohio, Western Division, for possible consolidation

with related Civil Action No. 1:13-DP-20140, and denies as moot Respondent’s Motion to Dismiss,

or in the Alternative to Stay Proceedings (Doc. 43).

        Respondent William Drake (“Drake”) requests that the court dismiss or stay this action under

the first-to-file rule. Drake contends that he initiated a proceeding in the United States District Court

for the Northern District of Ohio, Western Division, where related multi-district litigation (“MDL”)

was pending, by filing a motion to vacate the arbitration award at issue on June 22, 2016, the same

date that the final arbitration award (“Final Award”) was entered, before Plaintiff Steven Johnson

(“Johnson”) initiated this action and filed his motion to confirm the arbitration award on July 7,

2016.



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        Johnson responds that Drake’s motion to vacate the arbitration award was filed prematurely

because the arbitration award was not final until the “Corrected Final Award” was entered on July

7, 2016, and Drake never moved to vacate the “Corrected Final Award.” Johnson further asserts that

the issues raised by Drake, including those regarding the first-to-file rule, are foreclosed by the

magistrate judge’s prior findings and recommendation (Doc. 30) and this court’s March 30, 2017

opinion (Doc. 39). Among other things, Johnson previously argued in response to Drake’s first

motion to dismiss that the court in the MDL action lacked jurisdiction to hear the case and lacked

personal jurisdiction over him. Johnson contends that the Northern District of Texas, where the

“Corrected Final Award” was entered, “is the proper venue for confirmation of the Corrected Final

Award” because the “FAA provides that if no court is specified in the arbitration agreement of the

parties, then such application to confirm the arbitration award may be made to the United States

court in and for the district within which such award was made.” Pl.’s Resp. ¶ 4 (Doc. 45).

        The Fifth Circuit generally follows the first-to-file rule, which is based on “the principle of

comity [that] requires federal district courts—courts of coordinate jurisdiction and equal rank—to

exercise care to avoid interference with each other’s affairs.” West Gulf Maritime Ass’n. v. ILA Deep

Sea Local 24, 751 F.2d 721, 729 (5th Cir. 1985). “Under the first-to-file rule, when related cases

are pending before two federal courts, the court in which the case was last filed may refuse to hear

it if the issues raised by the cases substantially overlap.” Cadle Co. v. Whataburger of Alice, Inc.,

174 F.3d 599, 603 (5th Cir. 1999). This is because, “[i]n the absence of compelling circumstances

the court initially seized of the controversy should be the one to decide whether it will try the case.”

Mann Mfg., Inc. v. Hortex, Inc., 439 F.2d 403, 407 (5th Cir. 1971); West Gulf Maritime Ass’n., 751

F.2d at 729. The Fifth Circuit has recognized that district courts have the inherent power to stay,



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transfer, or dismiss an action when the issues presented can be resolved in an earlier filed action

pending in another federal district court. Id. at 729-30.

       Civil Action No. 1:13-DP-20140, which is pending in the Northern District of Ohio, Western

Division, is one of many cases “which comprise this multidistrict litigation involving the DePuy

ASR hip device which was transferred to [the district court presiding over Case No. 1:13-DP-20140]

in December 2010 by the Judicial Panel on Multidistrict Litigation.” Drake v. DePuy Orthopaedics,

Inc., et al., 1:13-DP-20140, 2017 WL 6502489, at *1 (N.D. Ohio Dec. 19, 2017) (slip op.) (“Ohio

case”). This litigation and the Ohio case both pertain to a dispute between Johnson and Drake

regarding Johnson’s entitlement to attorney’s fees for his representation of Drake, who was

implanted with an allegedly defective DePuy Hip ASR prosthetic devices in 2007, in the DePuy ASR

hip device multi-district litigation (“MDL”). Also at issue in both cases is whether an arbitration

award in favor of Johnson should be affirmed or vacated. The Ohio case and the motion to vacate

the arbitration award by Drake were filed first.

       Based on the authority cited by Drake, the court concludes that entry of the “Corrected Final

Award” on July 7, 2016, did not affect the finality of the June 22, 2016 “Final Award” or Drake’s

first-filed status. See Def.’s Reply 2-4 (Doc. 48). The initial “Final Award” entered on June 22,

2016, determined all significant issues such as liability and damages, and the “Corrected Final

Award” did not change the “Final Award” in any substantive manner. Further, the “Corrected Final

Award” states that the “Final Award” was signed and service was perfected as to the “Final Award”

on June 22, 2016. The “Corrected Final Award” also indicates that it was entered for the sole

purpose of correcting a single typographical error (changing the term “ADA” to “ARA”) upon a

request made by Johnson on June 28, 2016, after Drake had already filed his motion to vacate the



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arbitration award in the Ohio case. Thus, entry of the Corrected Final Award does not affect the

court’s determination that the proceeding commenced by Drake was initiated first.

        Moreover, Johnson’s jurisdictional arguments were rejected on December 19, 2017, by the

district court in the Ohio case in ruling on a motion by Drake to enforce a Master Settlement

Agreement (“MSA”) and vacate the arbitration award. See Drake, 2017 WL 6502489, at *4-9 (N.D.

Ohio Dec. 19, 2017) (slip op.). Specifically, in a well-reasoned opinion, the Ohio district court

determined that it had subject matter jurisdiction over the parties’ fee dispute and personal

jurisdiction over Johnson, and granted Drake’s motion to enforce the MSA, reasoning that, “[i]n the

absence of an agreement between the parties to submit their dispute to a different forum, the proper

forum to consider such disputes must and should rest with the MDL court.” Id. at *9. Because the

Ohio district court determined that it was “the proper forum for this dispute, [it found] it unnecessary

to address the motion to vacate the arbitration award [filed by Drake] as it has no binding effect on

the resolution of fees in this case.” Id.

        Regardless of whether the arbitration award is binding, Johnson cannot avoid the first-filed

rule by initiating a second action in this district that involves substantially overlapping issues while

the action in the Northern District of Ohio is pending. Johnson’s contention that Drake’s first-to-file

argument is foreclosed by the magistrate judge’s prior findings and recommendation (Doc. 30) and

this court’s March 30, 2017 opinion (Doc. 39) is also unavailing, as the court has authority to amend

or vacate any of its orders prior to entry of judgment. Rather than stay or dismiss without prejudice

this duplicative action as requested by Drake, the court, for purposes of comity and efficiency, sua

sponte transfers it to the United States District Court for the Northern District of Ohio, Western

Division, for possible consolidation with related Civil Action No. 1:13-DP-20140; denies as moot

Respondent’s Motion to Dismiss, or in the Alternative to Stay Proceedings (Doc. 43); and vacates

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its March 30, 2017 opinion (Doc. 39). The clerk of the court shall effect this transfer in accordance

with the usual procedure.

       It is so ordered this 20th day of December, 2017.



                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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